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  5
      Attorneys for Plaintiff
  6   THERESA BROOKE
  7                             UNITED STATES DISTRICT COURT
  8
                            CENTRAL DISTRICT OF CALIFORNIA
  9
      THERESA BROOKE, a married woman
 10
      dealing with her sole and separate claim,       Case No: 2:23-cv-10348
 11
                           Plaintiff,                 NOTICE OF VOLUNTARY
 12                                                   DISMISSAL WITH PREJUDICE
 13   vs.

 14   ASCOT HOTEL LP,
 15
                            Defendant.
 16
 17
             NOTICE IS HEREBY GIVEN that Plaintiff voluntarily dismisses the above case
 18
      with prejudice. Each party to bear their own fees and costs.
 19
 20          RESPECTFULLY SUBMITTED this 25th day of February, 2024.
 21
 22                                               /s/ Peter Kristofer Strojnik
                                                  Peter Kristofer Strojnik (242728)
 23
                                                  Attorneys for Plaintiff
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